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                                     Objection Letter

Shenita Lenlce Ann Thompson

Current Address:

2510 Suncrest Dr Apt 10

Flint, Ml 48504

Cell Number:

(810) 766-3621

Mail Address:

P.O. Box 321404

Flint, Ml 48532-0024

Counsel Representing

Jeff Ostrow

Kopelowitz Ostrow P.A.

1 W. Las Olas Blvd., Ste. 500

Ft. Lauderdale, FL 33301


Nature Of My Objection

I Shenita L, A Thompson Object to some part of the settlement for Class Counsel's request for
awards for the Class Representatives regarding Joanne Farrell v. Bank of America, Case No.
3:16-cv-00492-L-WVG. This is my first time objecting in any lawsuit because of economic
hardship I am unable to hire an attorney to represent me to testify at the final approval
hearing.
                                qdcl<!ol
I believe it should also be~to the settlement that Settlement Class member should also be
awarded cash relief for damages and financial hardships incurred in connection with their BANA
personal checking accounts between February 25, 2014 and December 30, 2017. I am aware
that I am a Settlement Class member who no longer has a BANA checking account because of
the NSF/OD fees Bank of America took my money of $109.00 in my accounts. My health
insurance payments were linked to my accounts but the payments wasn't successful so now my
credit is damaged because I also still owe money to the health insurance company.




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Brief Summarv of What Happened

I'm aware of the Anti- bribery and Anti- corruption U.S Foreign Corrupt Act and U.K. Bribery Act,
whenever you conduct business on behalf of Bank of America. You may not give, promise or
offer money or anything of value of authorize any third party working on behalf of Bank of
America to give, promise, or offer anything of value including but not limited to currency, offers
of employment, lavish gifts and entertainment to any customer, government employee, or any
other persons for the purpose of improperly influence a decision. I'm aware of your code of
conduct if employees of Bank of America engage in such behavior the employee exposes
himself and the corporation to a civil and/or criminal liability by undermining the trust of a
customer.

I would like to report a fraudulent action on Monday June 08, 2015 I arrived at Bank of America
at 1:15pm located on 5116 Greenville Ave Dallas, TX 75206. I walk into the building up to the
teller and requested to make withdraw from my saving account of $9.00 and deposit $100.00 of
cash into my checking account. The teller#0005 Juan Cruz requested that I swipe my debit card
and provide identification on my account to verify the accountholder. The teller#0005 Juan Cruz
than gave me back my identification. The teller#0005 Juan Cruz handed me a deposit slip to fill
out my deposit amount and while I was doing that the teller handed me a TLR cash withdrawal
slip to sign. I reviewed the amount to be withdrawn which was a written amount of $9.00
dollar. I furnished filling out the deposit slip and handed to the teller the cash to be deposit
with the deposit slip, while being process I request the teller to deposit the $9.00 dollars as well
the teller than handed me back the deposit slip and requested that I cross out the $100.00 in
cash and write under the line stating coins $109.00. The teller#0005 Juan Cruz stated that it is
still consider as cash. I did what the teller#0005 Juan Cruz requested and initial my first and last
name. I than verify the transaction being processed in front of me while the teller#0005 Juan
Cruz stood behind the teller line. While the teller#0005 Juan Cruz furnished the process my
headaches started to occur the teller then handed me a receipt of the transaction and I left the
building. I became light head because the heat from the sun beaming down on me so I decide
to walk next door where there is a restaurant named Raising Cane's Chicken Finger. I decide to
eat a meal there to regain my strength I paid $6.59 in cash for my meal I took a sip of my drink
and sit my personal belonging down because it was too heavy. I realize than I forgot to
withdraw funds for my trip to go to Michigan so while waiting on my food to process I decide to
walk over to Bank of America to make withdrawal from my checking account of $400.00 to take
along with me to Michigan. I arrived at the ATM at 2:00pm on 06/08/2015 and made two
transactions of $200.00 my balanced was $109.82. According to email alerts and customer

                                                                                          2   I Page
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receipt the first transaction of the amount of $200.00 showed an available balance of $309.82.
The second transaction of the amount of$ 200.00 showed an available balance of $109.82.

The damages to my accounts also start here I have my health insurance payments setup to
come from my accounts on the 3rd United Healthcare in the amount of $96.40 dollar which
should have been posted and Humana Dental plan in the amount of $20.99 this should have
posted because I was aware I had $109.82 in my account. I was also aware that my secondary
checking account was linked to my savings account. I did have direct deposit setup to Social
Security every month. I am aware that the overdraft protection services of Bank of America
provides to my account Overdraft protection transfers which are made for the amount required
to cover the overdraft and the applicable transfer fee, if my savings or secondary checking
account does not have enough available funds to cover the necessary amount, Bank of America
may decline to make the transfer. When Bank of America receive one or more items which
would overdraw my account, and saving or secondary checking has enough available funds to
cover at least one of those items, Bank of America generally make one transfer at the end of
the day. I am also aware of Bank of America Interest Checking and Advantage accounts plus
Platinum Privileges and Preferred Rewards customers qualify for a waiver of this fee. The
description of the overdraft protection transfer fee - transfer from a linked Bank of America
line of credit the fee amount is $10.00 each transfer.

I arrived in Dallas, TX back from my trip from Michigan on Saturday, June 13, 2015. On
Monday, June 15, 2015 I was aware that my insurance payments would apply to my savings
account so I went to Bank of America located at 5636 Lemmon Ave, Dallas, TX 75209 and spoke
to Alex I requested a statement on my checking account. Alex alerted me that I was negative in
my checking account and that my Humana insurance will apply to my saving account which will
cause an overdraft fee. While reviewing my statement on my checking account I requested
from Alex a copy ofthe deposit slip processed on June 08, 2015 and a copy of my overdraft
protection policy on my accounts. As Alex processed my requests I realize that on my statement
for my checking account there was a TX TLR cash withdrawal from CHK 6218 confirmation#
1678955176 so I requested a copy of that withdrawal slip. Alex hand me the first request and
stated that for the TRL I would have to put in the request at the location where the transaction
was performed. So I took the information that I requested and thanked Alex and left the
building. I continue to observer my statement for checking account I was negative $290.18.
Than on my savings account an NSF: Returned Item fee from activity of 06-15 electronic
transaction on posting date 06-15-15 posting seq 00001 applied to my saving account. So the
$109.00 I deposited into my checking account that's linked to my savings account for my
insurance payment to be paid on the 06-15-2015 was not available for payment. As I became
aware I started to look for any documentation that would be useful. I reviewed the customer
receipt given to me by the teller#0005 Juan Cruz on June 08, 2015 at 1:55pm stated that the

                                                                                       3IPage
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total deposit to CHK is $509.00 and the available balance is $509.82. The teller#0005 Juan Cruz
ethics are deceitful and deceptive due to the teller intent dishonest of the deposit slip that he
request that I fill out and the teller review the cash transaction and processed it the same day.

On June 22, 2015 at 4:30 pm I met with Personal banker Janet Flores and Manager Rebecca
Whittington to address the issue that involved my checking and saving account. Rebecca
Whittington explained to me that the error occurred due to a typo error on the teller behalf.
She explained to me that Bank of America informed me on the same day the error occurs by
telephone. I confirmed with Rebecca Whittington that I didn't receive a call from Bank of
America I told her that I could provide telephone records to prove this. Rebecca Whittington
and Janet Flores questioning of, why I the customer would withdraw funds from my account
due to the teller mistake? Rebecca Whittington and Janet Flores understatement affected their
judgement the speakers intentionally made the teller errors seem less important than it really
is. On June 26, 2015 I met with Jose Reygadas and Andrew Henk financial advisor of a relating
to finance to clarify if any administrator from Bank of America contact me by phone they both
ask me for my Identification and confirmed in there system that there was no record of a call
made out to me on June 08, 2015. I decide to call the Bank of America hotline to dispute the
error. I talk to Jonna who transfer me to electronic transaction they transferred me to claim
department Denise. Denise transfers me to Keeyona Ward who transferred me to back to
claims Hilary. How Bank of America handle the situation due to the errors ofTeller#0005 Juan
Cruz. I realize that the teller#0005 Juan Cruz implied consent by utilizes criteria and methods of
administration this intentional behavior and ethics attempted to influence the recipient Shenita
Thompson decision. According to the deposit slip, TX TLR cash withdrawal from CHK 6218
confirmation# 1678955176, customer receipts, statements, and email alerts teller#0005 Juan
Cruz credit checking account 488053746218 of an amount of$ 509.00 dollars when he should
have processed $109.00 dollars. This is not expressly granted by a person, but rather inferred
from a person's actions the facts and circumstances of this particular situation Bank of America
is a corporation employed with professional abusers who committed a fraudulent scheme on
my account which cheated and victimize me adding to my suffering. My saving account is now
negative -512.46 of a NSF: Returned Item fee and my checking account is now -$302.18




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Bank of America, TX2-981-05-07, Enterprise Customer Care Resolution                                              ~~
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100 North Tryon Street Charlotte. NC 28255-0001                                                                  "-''-                             0001394226SEP 1 ·1 2015




                                                                      Ms. Shenita Thompson
                                                                      2209 Empire Central Apartment 234
                                                                      Dallas. TX 75235




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    Case 3:16-cv-00492-L-WVG Document 82 Filed 03/05/18 PageID.952 Page 6 of 17




Enterprise Customer Cart Resolurion




Ms. Shenita Thompson                                                                                  September 9, 2015
2209 Empire .Central Apartment 234
Dallas, TX 75235                                                                                      Contact Us:
                                                                                                      1.855.834.5400, extension
                                                                                                      423251

Correspondence received on: August 12, 2015
                                                                                                      Account Ending:
                                                                                                      6218
Dear Ms. Thompson:                                                                                    6221

Our Enterprise Customer Care Resolution team received correspondence sent on your behalf from
the Office of the Comptroller of the Currency IOCC). Wr,, understand the importance of listening to   Page 1 of2
you, our customer. We appreciate the time you took to share the concerns. Below is a summary of
our research and the resolution.

Si!.mlmilrlf of our research
Our research indicates that a deposit was made to your checking account ending in 6218 at the
Greenville/Lovers Financial Center on June 8, 2015, in the amount of $109.00. Initially the deposit
was incorrectly credited for the amount of $509.00, and was corrected to reflect the amount of
$109.00 later that same day. Our research further indicates that on June 8, 2015, you made two
withdrawals at an ATM in the amount of $200.00, each. This brought the balance in your checking
account to negative $290.18.

Additionally, we can confirm that your checking account is linked to your savings account ending in
6221 for Overdraft Protection. Our Overdraft Protection Service provides payment for
transactions when there are insufficient funds in an account. Available funds from the linked
account are automatically transferred to the receiving account to prevent insufficient funds
activity. This service can protect customers from overdrawing their accounts or from having items
returned unpaid due to insufficient funds. Customers can also avoid overdraft or returned item
fees, when the accounts remains funded, as well as avoid declined point of sale debit card
transactions. Overdraft Protection does not transfer funds from your checking account to your
savings account in the event of an overdraft.

The ending balance on your savings account ending in 6221 on June 8, 2015, was $0.34. There
have been multiple Returned Items on the account since that date, which resulted in Return Item
fees being assessed. These fees have caused your account to becume ovt>rdrawn. As of the date
of this letter, the balance in your savings account is negative $389.66.

Our       resp.on~'?oe
Ms. Thompson, at Bank of America we strive to provide exceptional customer service during every
customer interaction. It appears, in this case, we may have fallen short of that goal. This matter
has been elevated to the appropriate level of management to ensure we are upholding the level of
service our customers expect and deserve.




Bank o:· Ameri.cc., NCJ-OO'i-J3Hi
100 r; 11tYON S'l'. CHAl~LC'i.'TE. NC 28255·0001
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                                                                                                  September 9, 2015
Documents enclosed
    •   Hold and Transaction History dated June 1, through August 12, 2015, for the checking      Contact Us:
        account ending in 6218                                                                    1.855.834.5400, extension
    •   Hold and Transaction History dated June 1, through August 12, 2015, for the savings       423251

        account ending in 6221
                                                                                                  Account Ending:
                                                                                                  6218
If you have any questions                                                                         6221
Thank you for the opportunity to address your concerns. If you have any questions or would like
to discuss this further, my phone number is 1.855.834.5400, extension 423251, and I arn
available Monday through Friday from 7:30 a.m. to 4:30 p.m. Central.                              Page 2 of 2


Sincerely,



fkD~
Patrick Bulger
Customer Advocate
Enterprise Customer Care Resolution
C-3512557

cc: Office of the Comptroller of the Currency Case Number: 03047869
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BankoiAtnerica I 1-Iold and Transaction l~Iistory I Hold and Transil.ction 1-Iistory Results




            Hoid and Transaction History Search Results
            - - - - -..   -------·----~-----                                                                                                  ···--·
            Account# XXXXXXXXXXXXXXXXX6221                 Search Period: 06/01 /15 .
                                                                                                      Transaction Type: Authorizations, Holds, Debits and Credits
          08/12/15

              Original                                                                                                                          Available
                         Posting        Merchant                                                                     Trans         A          t B I       Statement NSF/OD
             Auth/Hold                                               Transaction Description                                           moun       a ance             F
                          Date          Category                                                                     Type                        History   8 a 1ance  ee
               Date
                                                                     Ending Balance August 11                                                               (389 66)
                         08/11/15                        NSF: RETURNED ITEM FEE FOR ACTI                                           (35.00)      (389.66)    (389.66)
                         08/11/15                        NSF: RETURNED ITEM FEE FOR ACTI                                           (35.00)      (354.66)    (354.66)
                         08/11/15                        UNITEDHEALTHONE DES:RDP INS. P                                            (96.40)      (319.66)    (319 66)    35.00
                         08/11/15                        UNITEDHEALTHONE DES:RDP INS. P                                            (96.40)      (3'19.66)   (319.66)    35.00
                                                                     Ending Balance August 06                                                               (319.66)
                         08/06/15                        Monthly Maintenance Fee                                                       (5.00)   (319.66)    (319.66)
                                                                     Ending Balance August 05                                                               (314.66)
                         08/05/15                        NSF: RETURNED ITEM FEE FQR ACTI                                           (35.00)      (314.66)    (314.66)
                         08/05/15                        NSF: RETURNED ITEM FEE FOR ACTI                                           (35.00)      (279.66)    (279.66)
                         08/05/15                        UNITEDHEALTHONE DES:INS. PREM.                                            (96.40)      (244.66)    (244.66)    35.00
                         08/05/15                        UNITEDHEALTHONE DES:INS. PREM.                                            (96.40)      (244.66)    (244.66)    35.00
                                                                      Ending Balance July 10                                                                (244.66)
                         07/10/15                        NSF: RETURNED ITEM FEE FOR ACTI                                           (35.00)      (244.66)    (244.66)
                         07/10115                        NSF: RETURNED ITEM FEE FOR ACTI                                           (35.00)      (209.66)    (209.66)
                         07/10/15                        TIME INSURANCE DES:RDP INS. P                                                 (7.26)   (174.66)    (174.66)    35.00
                         07/10/15                        TIME INSURANCE DES:RDP INS. P                                             (40.00)      (174.66)    (174.66)    35.00
                                                                       Ending Balance July 09                                                               (174.66)
                         07/09/15                        NSF: RETURNED ITEM FEE FOR ACTI                                           (35.00)      (174.66)    (174.66)
                         07/09/15                        Extended Overdrawn Balance Char                                           (35.00)      (139.66)    (139.66)
                         07109/15                        UNITEDHEALTHONE DES:RDP INS. P                                            (96.40)      (104.66)    (104.66)    35.00
                                                                      Ending Balance July 03                                                                (104.66)
                         07/03115                        NSF: RETURNED ITEM FEE FOR ACTI                                           (35.00)      (104.66)    (104 66)
                         07/03/15                        UNITEDHEALTHONE DES:INS. PREM.                                            (96.40)       (69 66)     (6966)     35.00


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 ,~J
                         07/02/15
                                                                       E.ncling Balance July 02
                                                         NSF: RETURNED ITEM FEE FOR ACTI                                           (35.00)       (69.66)
                                                                                                                                                             (69.66)
                                                                                                                                                             (69.66)



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                         07/02/15                        NSF: RETURNED ITEM FEE FOR ACTI                                           (35.00)       (34.66)     (3466)
                         07/02/15                        TIME INSURANCE DES:INS. PYMNT                                                 (7.26)       0.34        0.34    35.00
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                         07/02/15                        TIME INSURANCE DES:INS. PYMNT
                                                                      Ending Balance June 29
                                                                                                                                   (40.00)          0.34        0.34
                                                                                                                                                                0.34
                                                                                                                                                                        35.00
                                                                                                                                                                                I:~~1
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                         06/29/15                        Fee Refund                                                                    70.00        0.34        0.34            ''~l

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                                                                      Ending Balance June 22                                                                 (69.66)            ,~~'!
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                         06/22/15                        Extended Overdrawn Balance Char                                           (35.00)       (6966)      (69.66)            ~i_:,




                         06/15/15
                                                                      Ending Balance June 15
                                                         NSF: RETURNED ITEM FEE FOR ACTI                                           (35.00)       (34.66)
                                                                                                                                                             (:)4.66)
                                                                                                                                                             (34 66)
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                         06/15/15                        HUMANA COMPBENEF DES:7709988936                                           (20.99)          0.34        0.34    35.00
                                                                      Ending Balance June 08                                                                    0.34




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Bank.ofAmerica I Hold and Transaction History I B_old and Transaction History Results

                      '06/08/15                      Online Banking transfer from CH        6.00      0.34     0.34
                                                                 Ending Balance June 05                      (5.66)
                      io6/05/15                      Fee For Checks And/Or Withdrawa      (12.00)   (5.66)   (5.66)
        06/06/2015 06/05/15                          Online Banking transfer to CHK       (50.00)     6.34     6.34
       01 :23:45:000
                                                                 Ending Balance June 03                      56.34
                       06/03/15                      TIME INSURANCE DES:INS. PYMNT         (7.26)   56.34    56.34
                       06/03/15                      TIME INSURANCE DES: INS. PYMNT       (40.00)   63.60    63.60
                       06/03/15                      UNITEDHEALTHONE DES:INS. PREM.       (96.40)   103.60   103.60
                      ·06/03/15                      Online Banking transfer from CH      200.00    200.00   200.00
               Case 3:16-cv-00492-L-WVG Document 82 Filed 03/05/18 PageID.956 Page 10 of 17
BankofAmerica I Hold and Transaction History I 1-Iold and Transaction :History Results




          Hold and Transaction History Search Res1.1its
          Account# XXXXXXXXXXXXXXXXX6218                  Search Period: 06/01/15-
                                                                                                   Transaction Type: Authorizations, Holds, Debits and Credits
    08/12/15

            Original                                                                                                                        Available
                         Posting        IVlercha.nt                                                             Trans         A             B I       Statement NSF/OD
           Auth/Hold                                               Transaction Description                                        mount       a ance              F
             Date
                           Date         Category                                                                 Type                        History 8 a 1ance     ee

                                                                    Ending Balance August 06                                                            (302 18)
                         08/06/15                        Monthly Maintenance Fee                                               (12.00)       (302.18)   (302.18)
                                                                      Ending Balance June 08                                                            (290.18)

           06/08/2015 06/08/15                           BKOFAMERICA ATM 06/08 #00000987                                      (200.00)       (290 18)   (290.18)
          07:01 :56:000

           06/08/2015 06/08/15                           BKOFAMERICA ATM 06/08 #00000987                                      (200.00)        (90 18)    (90.18)
          07:01 :10:000

           06/08/2015 06/08/15                           TX TLR cash withdrawal from CHK                                           (9.00)     109.82     109.82
          06:52:31 :000

           06/06/2015 06/08/15                           BKOFAMERICA ATM 06/06 #00000877                                      (100.00)        118.82     118.82
          09:30:57:000

           06/06/2015 06/08/15                           BKOFAMERICA ATM 06/06 #00000877                                      (200.00)        218.82     218.82
          09:29:35:000

      '    06/06/2015 06/08/15                           Online Banking transfer to Sav                                            (6.00)     418.82     418.82
          07:33:06:000
           06/06/2015
            , , ,      06/08/15 Restaurant               p CHECKCARD 0606 BIG ALS SMOKE H                                      (11.52)        424.82     424.82
          07 11 40 000
           06/05/2015                                                                                                                                                      ,-~~
            , , ,      06/08/15 Fast Food/               ~ CHECKCARD 0605 CHIPOTLE 0314                                           (15.80)     436.34     436.34
          05 20 07 000
                         06/08/15                        Counter Credit                                                           109.00      452.14     452.14
                                                                                                                                                                           ~~
                                                                      Ending Balance June 05                                                             343.14            ~
           06/03/2015            '
            : :4 :000 06/05/15 Railways P                ~ CHECKCARD 0603 AMTRAK .COM                                         (358.00)        327.34     343.14            "!.•,
          11 13 6
                                                                                                                                                                           lill'·
                                                                                                                                                                           I
           06/05/2015
            , , ,      06/05/15 Fast Food/               I> CHIPOTLE MEXICAN DALLAS                           Processing          (15.80)     685.34     701.14            l
          05 20 07 000
                                                                                                                                                                           ''
                                                                                                                                                                           ~1b
                         06/05/15                        Online Banking transfer from SA                                           50.00      701.14     701.14            diiil
                                                                                                                                                                           j~~
                                                                      End:ng Balance June 04                                                             651.14
           06/03/2015
           1: , ,
                                 '
                      06/04/15 Railways P                I> AMTRAK.COM WASHINGTON                             Processing      (358.00)        293.14     651.14
                                                                                                                                                                           ~o/~?~!:
          1 13 46 000
                                                                                                                                                                           ~

           06/03/2015 06/03/15
                                                                      Ending Balance June 03

                                                         Online Banking transfer to Sav                                       (200.00)        293.14
                                                                                                                                                         651.14

                                                                                                                                                         651.14
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          03:30:48:000
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           06/03/2015                 '
          1 1: 13:4 6 :000 06/03/15 Railways
                                             p
                                                          I> AMTRAK.COM WASHINGTON                            Processing      (358.00)        493.14     851.14            1i~
                                                                                                                                                                           "!~4

                         06/03/15                        SSA TREAS 310 DES:XXSOC SEC                                              905.00      851.14     851.14
                                                                                                                                                                            ~
                         06/02/15
                                                                      Ending Balance June 02
                                                         OVERDRAFT ITEM FEE FOR ACTIVITY                                          (35.00)     (53.86)
                                                                                                                                                         (53.86)
                                                                                                                                                         (53.86)           I
           06/02/2015 06/02/15                                                                                                                                              ~,

                                                                                                                                                                           k.!~1
                                                          BKOFAMERICA ATM 06/02 #00000775                                         (20.00)     Cl886J     (18.86)   35.00
          10:55:56:000
                                                                      Ending Balance June 01                                                                1'14
                                                                                                                                                                               .li-1




https://transaction hi story .bankofauierica.cmn/T ransactionl Iistory/transactionSearchResult.dof 8/ 12/2015 2: 12: 21 PM]
             Case 3:16-cv-00492-L-WVG Document 82 Filed 03/05/18 PageID.957 Page 11 of 17
BankofAtnerica I Hold and Transaction History I Hold and Transaction History Results

         0512912015
                     ;06/01/15. Direct Mar               /> CHECKCARD 0529 NETFLIX.COM                                       (9.73)    1.14    1.14
        09;22!28;000 !
          os130115     ici610111s                       , BKOFAMERICA ATM 05/30 #00000771                                    10.00    10.87   10.87




h11n<:· //tr~n<:m~tirmhi<:tnrv hm1knfnmericn .co1n/Transactionl-Iistorv/transactionScarchResult.dor8/l 2/2015 2: 12:21 PMl
      Case 3:16-cv-00492-L-WVG Document 82 Filed 03/05/18 PageID.958 Page 12 of 17
                                                                                                                 05

        Golden Rule"                                                                        Premium
A UnitedHealtlicare Company

                                                                                              Notice
                                                                                      Visit www.MyUHOne.com




                SHENITA THOMPSON
                PO BOX 601801
                DALLAS        TX 75360-1801




        ID Number:                    093-650-966
                                      06/28/15 to 09/28/15                             Make future poncy
        To Pay Period Of:                                                              payments
        Payment Due:                  AUG 28 2015
                                      $319.20                                          automatically from
        Total Amount Due:                                                              your bank account!
                                      Insurance Payment:              $92.40
        Payment Breakdown:                                                             Call (800) 657-8205 for
                                      Assoc. Fee:                      $4.00
                                      Administrative Fee:             $10.00           details or to set up
                                      Balance Forward:               $212.80           Electronic Funds
                                      Total Amount Due:              $319.20           Transfer.




Please return this lower part of the form with your payment in the form of a check.
We do not accept credit card payments.

      Make check payable to:          GOLDEN RULE




                       Primary Insured:   THOMPSON, SHENITA              Total Amount Due: $319. 20
                           ID Number:     093-650-966                            Due Date: AUG 28 2015


                                               GOLDEN RULE INSURANCE COMPANY
                                      Mail to: PO BOX 7 40209
                                               CINCINNATI, OH 45274-0209


     00093650966/152401000106400000000*2
      Case 3:16-cv-00492-L-WVG Document 82 Filed 03/05/18 PageID.959 Page 13 of 17
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                     {-' !;                                        For plan period from Sep 1, 2015 to Oct 1, 2015
                     \'   '



   PO Box 769649
   Roswell, GA 30076-8225

                                                                  Hl Number
                                                                  0000023508786
  CMPIV1042A20150810024492
  Shenita Thompson                                                Invoke c:fote
  2209 empire central Apt 234
  Dallas, TX 75235-4368
                                                                  August 10, 2015

                                                                  Payment due
                                                                  September 1, 2015




                                                                  Your invoice has an exciting new
Outstanding Balance                    $41.98                     look! Nothing about your plan has
Adjustments                            $0.00                      changed. You 1ll still receive the
                                       $20.99                     same, helpful information in an
Current Period Charges
                                                                  easier-to-read format. As always,
Please pay total amount due            $62.97                     we 1re here to assist you with any
                                                                  questions you may have.
How You Can Pay
To make a onetime payment on line or over the phone, please refer to the website and phone
number listed on your ID card. If you prefer to pay by check or credit card, fill out and detach the
portion below, and mail it in the envelope provided.

How You Can Rem:h Us
Please call Customer Service at the number listed on your ID card, Monday-Friday, 8 am - 6 pm
Eastern Time
                                                                                                          Continued>

                                     RETURN THIS PORTION WITH YOUR PAYMENT

                                                                    Payment Coupon
                                                                     Payment due date:             09/01/15
                                                                     Plan Period:                  Sep 1 2015 to Oct 1 2015
ID Number:         0000023508786                                     Amount due:                   $62.97
                                                                     Amount enclosed:               $
Shenita Thompson                                                    D To pay by credit card, complete the
2209 empire central Apt 234                                         back of this form and check this box
Dallas, TX 75235-4368
                                                                    Please remit to:
                                                                    Humana Insurance Company
                                                                    P.O. Box 219051
                                                                    Kansas City, MO 64121-0000
For change of address, please call Customer Service
                                06          000000023508786              s                  029557240 0000006297 4
  Case 3:16-cv-00492-L-WVG Document 82 Filed 03/05/18 PageID.960 Page 14 of 17

                                                              Checking I Savings Deposit - TX
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     Bank of America ~q
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      (Outof State Code)    (!"umbers only. ~o spaces I dashes)

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https ://channelsol utions-issp. bankofamerica.com :26189/touchpoint/account/DepositAccou ...                                                      6/15/2015
Case 3:16-cv-00492-L-WVG Document 82 Filed 03/05/18 PageID.961 Page 15 of 17




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                           ·by law. Paym~IB are acceptedJ,wlien_ credit is applied to outstandihg b anpel) and not upon issuance of this receipt. Transactions received
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                            after tbe_Bank'S:-posted cut-off time or Sar_urday, Sunday. and Bank Hori' : yi, are dated and con§idered received ~ of the next business .day.
                            Please retain this receipt until Y,.ou receive your acfouiit statement.
                            Thank yon fOr banking ~'itli :Bank of Americit.
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                            Save time with fast, reliable    4ePosits,
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                                                   5030 Greenvi 1le Ave
                                                     Da JI as, TX 75206
                                                      (214) 360-6080
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                                     Change Due                                  7.13
                                                                                 2.87

                                          **      Customer's Copy          **                     •
Case 3:16-cv-00492-L-WVG Document 82 Filed 03/05/18 PageID.963 Page 17 of 17




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                                                              Bank of America
                                                                        For Customer Ser•ice Call
                                                                             1-800-432·1
                                                                    BankAmericard.Cash Rewc.rds(TM)
                                                                   Visit bankofamerica.com/getcashbac!<


                                                      06/08/1514:01 ITXN3516

                                                      XXXXXXXX7202
                                                      "GREENVILLE/LOVERS
                                                      DALLAS           TX

                                                      Ser. No. 9876                                  $200.00
                                                      Withdrawal                                    Checking
                                                      From PRIMARY                                   $309.82
                                                      Available Balance
                                                        Member FDIC
